                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

            Karen Vaughn              )              JUDGMENT IN CASE
           Paige L. Pahlke,
                                      )
             Plaintiff(s),            )             3:19-cv-00012-RJC-DSC
                                      )
                 vs.                  )
                                      )
                                      )
          James Paul Blair,
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 26, 2021 Order.

                                               March 26, 2021




      Case 3:19-cv-00012-RJC-DSC Document 39 Filed 03/26/21 Page 1 of 1
